Case 2:12-cv-00116-J-BB Document 12 Filed 07/06/12 Pageiof4 PagelD 115

Dy The Unibel Stakes Dicheicdl Covel Foz The Nostheen
Diskei : OL TEvas Amari lo “Divistony

ane Mvchat | Dyacksheon® 2 z S
 QMaiurkPP 5 ene-ev-omtg = 8
ON, 3 | 3 "5
Rv “Thay lee , E+ AL. 2
_ Delerd al?

~ Respouse lo Cou ats Kecon M end ats ON
Du lowe Ye, are | Dhar arburithed tvs
| cya | complaint, Trelusive WAS pata aed 1985

packet, MEMoRAUUM, awd A Numblose of ewppoeh
documents / Exibrts. *

.

On May I9 ole. Mains’ pecrived A. document
Haat ONCE aiaued Awa subrietted would Leaushex
Jurisdiction Lo A Mabiesheate Judd BR. “TWs doa - .
UMEW WAS aust siaued of oy Plain + -
Arthorizin Au ssind stony -Leavs ER.

On May 17" rene, Plaischt\ Recsived AN, ,
ordee Poor this Covet disavousinng laine R
goth out ed MEMORANdUM ane * . a

eV Mg REAP. USING ONY The PLOVIGRA
wBSepalels with the madnrorly off a Ves

Addctkowal paES
-- Case 2:12-cv-00116-J-BB Document 12 Filed 07/06/12 Page 2of4 PagelD 116

Ths mather is - compley ad eouvoloted ANG
Plans emoeaudun u/ ends (‘S NIRCESSARY
to antic: L the iSQu ES,

On Juve Ob, COVe, M scheale Aveeitte
soved ae AYIOM whic.“ awial ” ECOMMENAALION
of a\ i chai, ey ve Le aloe Pst

Com ple MQAW & wou have REN) ,UNA
ous ge oe denial. Exarp s\e' “Ps4, Clemasts
ot \Ve A small ah. Bale: + \ oleae,

soe Haat Wes c exh isbeeuptions ARE. Nook

Const isha | f Bays Duns, iat mai | does meh

have 4a be lesueck hr rg OQ SOpm (Te mail Roary
closes at S00pr ) Noe do ANY of the othee

REAsOS .. meal oned ancl la

Examale 2! f5, “ant td d. f ss ao tach
def Awe las * eecaunl Knowledg G AS ts Plain
1S &E/D cKpeve le ~ TWs is Sole, Lee
EX: exaieuanoe om — ee eee by

Ne. bee Aekuow ledging p Re Corqlanits 5.

bs well 1 other es WwW beenuse WNO-

las. Chan
eee
he Ad: (S cho Ve fosotale Osleict

Jud & ly REMEW at te complannt. iN cbS
eka aay nab his cl gil, 0 Jord MEMOR >
Case 2:12-cv-00116-J-BB Document 12 Filed 07/06/12 Page 3of4 PagelD 117

audum weal Mian! ISSUE hee Padiags .
fas Qoweluston pense’ UPon Une Dede et

Pe Pe Teej ss Hovoesble Creh ws I how

leet IsQue AN) EVKAENCLAR, nenziizg
SO AX oy EX OORE Ve Leutlh | aloout the S SUES

Ab awd,
4 Cali cate of See 4.00
we GR DENA pla SW
J Me ald & : "

es er us Hes ee ARLE
A Ceo
ed, this A a Ope
as “Repetboll, | fh 2

Fae J por beet

C\Neaests Lywit Lode. Ak. ,
Noo | Spur Bal

A neon ll Wy ly 77
PUP EP peppy Tee THEE We : SSPE Eafe BT EES,

ose? SY Seegt Sonee

SVXa41 dO LOWLSIG NUSH.LYON

Lpbd “ton od x) ‘o \. ar TMOD LOMeISIG S'N WUSTO
Opes! AS ay ye “A Soe 9-W

Po APE YS y
J ; ral peat (= GaNa939
_ We

co
a
a
QO
o
o
©
o
Tt
_—
~O
Tt
o
o
oO
oO
N
a
—
©
oO
—
NN
oO
Oo
i
N
a
_
Cc
o
Ee
5
oO
oO
Q
co
a
?
co
a
a
oO
oO
>
°
N
a
N

2 Disagyos

Z onl d AY ‘cy pen
Cowie LEONE 5 pS a |bS. dS \o9

4))-2}, Sian
geLlsq] "als 2

